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                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
vs.                                              )          No. 3:13-cr-00116
                                                 )          No. 3:13-cr-00090
                                                 )          Judge Kevin Sharp
OSVALDO NIETO-VEGA                               )


            AGREED MOTION TO CONTINUE SENTENCING HEARING

       Osvaldo Nieto-Vega, through his attorney John P. Cauley, moves that his sentencing

hearing, currently set for December 9, 2013, be continued to January 8, 2014 at 1:30 PM. As grounds

for this motion counsel asserts that he needs some additional time consult with his client and

prepare for sentencing.

       WHEREFORE, Defendant Nieto-Vega respectfully requests that this Honorable

Court grant the instant Motion.

                                      Respectfully submitted,

                                      /s/ John P. Cauley
                                      John P. Cauley, Attorney
                                      1550 West McEwen Drive
                                      Suite 300, Box 19
                                      Franklin, TN 37067
                                      (615) 790-2426
                                     john@johncauley.com

                                CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2013 a copy of the foregoing was electronically
filed. Notice of this filing will be sent by operation of the Court’s electronic filing system to
all parties indicated on the electronic filing receipt, namely Assistant U.S. Attorney Hester




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